                       Case 17-36990              Doc 38      Filed 07/02/19 Entered 07/02/19 16:09:18                              Desc Main
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Fill in this information to identify your case:
Debtor 1              Elvia                                                 Soriano
                      First Name                   Middle Name              Last Name
Debtor 2              Emilio                                                Diaz
(Spouse, if filing)   First Name                   Middle Name              Last Name
United States Bankruptcy Court for the:     Northern                  District of Illinois
                                                                                  (State)
Case number           17-36990
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                 amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 - Amended                                                                                    12/15
If you are an individual filing under chapter 7, you must fill out this form if:
◼ creditors have claims secured by your property, or
◼ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Part 1:       List Your Creditors Who Have Secured Claims
 1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.


       Identify the creditor and the property that is collateral                  What do you intend to do with the property that   Did you claim the property
                                                                                  secures a debt?                                   as exempt on Schedule C?

       Creditor's                                                                      Surrender the property.                          No.
       name: Freedom Mortgage Corporation                                                                                               Yes.
                                                                                       Retain the property and redeem it.
       Description of
       property                                                                        Retain the property and enter into a
       securing debt: 17632 S Farrell Rd, Lockport, IL 60441 | Value:                  Reaffirmation Agreement.
       $271,666.66                                                                     Retain the property and
                                                                                       [explain]:

       Creditor's                                                                      Surrender the property.                          No.
       name: MB FIN SVCS                                                                                                                Yes.
                                                                                       Retain the property and redeem it.
       Description of
       property                                                                        Retain the property and enter into a
       securing debt: Freightliner CL120T | Value: $23,675.00                          Reaffirmation Agreement.
                                                                                       Retain the property and
                                                                                       [explain]:

       Creditor's                                                                      Surrender the property.                          No.
       name: FIFTH THIRD BANK                                                                                                           Yes.
                                                                                       Retain the property and redeem it.
       Description of
       property                                                                        Retain the property and enter into a
       securing debt:  Mazda M3 | Value: $3,675.00                                     Reaffirmation Agreement.
                                                                                       Retain the property and
                                                                                       [explain]:

       Creditor's                                                                      Surrender the property.                          No.
       name: WELLS FARGO DEALER SERVICE                                                                                                 Yes.
                                                                                       Retain the property and redeem it.
       Description of
       property                                                                        Retain the property and enter into a
       securing debt: 2007 Chrysler Town & Country                                     Reaffirmation Agreement.
                                                                                       Retain the property and
                                                                                       [explain]:



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Debtor Elvia                                                    Soriano                   Case number (if         17-36990
1      First Name                      Middle Name              Last Name                 known)

Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may
assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).


     Describe your unexpired personal property leases                                                         Will the lease be assumed?

                                                                                                                 No
     Lessor's name: GENESIS BC/CELTIC BANK
                                                                                                                 Yes
     Description of leased
     property: Furniture Lease

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:


Part 3:   Sign Below
   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.


   û Signature
       /s/ Elvia Soriano
                of Debtor 1
                                                                            û Signature
                                                                                /s/ Emilio Diaz
                                                                                        of Debtor 2

      Date 7/2/2019                                                             Date 7/2/2019
           MM/DD/YYYY                                                                MM/DD/YYYY




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